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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
FAYETTEVILLE PUBLIC LIBRARY, et al PLAINTIFFS
ATTORNEY: John Adams Bettina Brownstein Benjamin Seel
Rebecca Parker Michael Bamberger Vincent Chadick
v. CASE NO. 5:23-CV-5086
CRAWFORD COUNTY, ARKANSAS, et al DEFENDANTS
ATTORNEY: Sam McClelland Forrest Stobaugh Christine Cryer
Noah Watson John Payne
JUDGE: TIMOTHY L. BROOKS REPORTER: PAULA BARDEN
COURT CLERK: SHERI CRAIG
MOTION HEARING MINUTES
July 25, 2023
TIME MINUTES
10:05 AM | Court Convenes
Procedural History by the Court
Argument regarding Motion to Dismiss - Motion taken under advisement
Rule Invoked
CX#1 - Joint Statement of Stipulated Facts
CX#2 - Plaintiffs’ previously marked and proffered Exhibit Nos. 1-1, 1-2,
1-3, 28, 29, 31, 32, and 33 (see attached list)
Argument regarding Motion for Preliminary Injunction
PW#1 - Leta Caplinger
PX#s 17 - 27 - Received over Objection (see attached list)
11:48 am | Lunch
12:34 pm Reconvene
Argument regarding Motion for Preliminary Injunction (cont)
Court takes Petition under advisement - order to follow
3:18 pm Court Adjourned

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Exhibit 1:

Exhibit 2:

Exhibit 3:

Exhibit 4:

Exhibit 5:

Exhibit 6:

Exhibit 7:

Exhibit 8:

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Exhibit 10:

Exhibit 11:

Exhibit 12:

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Declaration of John Adams (Doc, 22-1)

Exhibit [-1:

Exhibit 1-2:

Exhibit 1-3:

Exhibit 1-4:

Tomas Saccente, Crawford County Library Board Looks to Create
New A Public Comment Policy After Increased Engagement At
Meetings, N.W. Ark. Democrat Gazette (May 14, 2023)

May 23, 2023 Letter from Gentry WahImeier re: May 18 Email to
Quorum Court of Crawford County

May 23, 2023 Letter from Gentry Wahimeier re: Resignation per
Act 372 Changes

Emails from State Library Director Jennifer Chilcoat

Declaration of Carol Coffey (Doc. 22-4)

Exhibit A:

Exhibit B:

Exhibit C:

Exhibit D:

Photos of Yell County Library in Danville, AR
Photos of Calhoun County Library in Hampton, AR
Photos of Franklin County Library in Ozark, AR

Logan County Library in Booneville, AR

Declaration of Daniel Jordan (Doc. 22-10)

Declaration of Olivia Farrell (Doc. 22-7)

Declaration of Matthew D. Stratton (Doc. 22-13)

Declaration of Kandi West (Doc. 22-16)

Declaration of Deborah Caldwell-Stone (Doc. 22-2)

Declaration of Nate Coulter (Doc. 22-5)

Declaration of David Grogan (Doc. 22-8)

Declaration of Hayden Kirby (Doc. 22-11)

Declaration of Jeff Trexler (Doc. 22-14)

Declaration of Leta Caplinger (Doc. 22-3)
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Exhibit 13:
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Exhibit 31:

Exhibit 32:

Exhibit 33:

Declaration of Christina Danos (Doc. 22-6)

Declaration of David Johnson (Doc. 22-9)

Declaration of Mary E. Rasenberger (Doc. 22-12)

Declaration of Adam Webb (Doc. 22-15)

November 8, 2022 Crawford County Library Board Meeting Minutes
January 10, 2023 Crawford County Library Board Meeting Minutes
March 14, 2023 Crawford County Library Board Meeting Minutes
May 9, 2023 Crawford County Library Board Meeting Minutes
June 6, 2023 Crawford County Library Board Meeting Minutes
July 11, 2023 Crawford County Library Board Meeting Minutes
November 21, 2022 Crawford Quorum Court Meeting Minutes
Decembre 19, 2022 Crawford Quorum Court Meeting Minutes

January 1, 2023 Crawford Quorum Court Meeting Minutes & January 17,
2023 Crawford Quorum Court Meeting Minutes

February 21, 2023 Crawford Quorum Court Meeting Minutes
March 13, 2023 Crawford Quorum Court Meeting Minutes

November 10, 2023 Letter from Dr. Jeffrey Hamby and Tamara Hamby to
Crawford County

List of Books in Crawford County Library “Social Section”
Photos of Books in Crawford County Library “Social Section”

Crawford County Library System Reconsideration Revised on September 13,
2022

Crawford County Library System Reconsideration of Library Materials “as of Act

372”

List of books in Plaintiffs’ possession that may be classified as harmful to minors

but which are protected as to adults or older minors. (Doc. 42-1)
